          CASE 0:24-cv-02944-KMM-JFD Doc. 46 Filed 08/12/24 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


United States of America,                           Court File No. 24-cv-2944 (KMM/JFD)

                  Plaintiff,                           NOTICE OF APPEARANCE

        v.

Evergreen Recovery Inc., Evergreen Mental
Health Services Inc., Ethos Recovery Clinic
Inc., Second Chances Recovery Housing Inc.,
Second Chances Sober Living, Inc., David
Backus, Shawn Grygo, and Shantel Magadanz,

                  Defendants.


        PLEASE TAKE NOTICE that Ranelle Leier appears as the Court-Appointed Receiver in

the above-captioned matter for Defendants Evergreen Recovery Inc., Evergreen Mental Health

Services Inc., Ethos Recovery Clinic Inc., Second Chances Recovery Housing Inc., and Second

Chances Sober Living, Inc (“Evergreen Entities”).

Dated: August 12, 2024                          FOX ROTHSCHILD LLP



                                                /s/ Ranelle Leier
                                                Ranelle Leier
                                                City Center
                                                33 South Sixth Street
                                                Suite 3600
                                                Minneapolis, MN 55402
                                                Tel: 612.607.7000
                                                Fax: 612.607.7100
                                                rleier@foxrothschild.com
                                                Receiver for the Evergreen Entities




161472452.1
